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                                                                             April 30, 2023


   VIA ECF

   The Honorable Lewis A. Kaplan
   United States District Court
   Southern District of New York
   500 Pearl Street
   New York, New York 10007

                          Re:     Carroll v. Trump, 22 Civ. 10016 (LAK)

   Dear Judge Kaplan:

          We write on behalf of Plaintiff E. Jean Carroll pursuant to Your Honor’s Individual Rules
   of Practice to seek approval to file under seal a motion and related papers.

            On the morning of Thursday, April 27, 2023, the Court held a brief proceeding under seal
   concerning an issue that had arisen during trial. During that proceeding, the Court invited further
   briefing. Plaintiff now files such briefing and corresponding papers, and respectfully requests leave
   to file them under seal given the nature of the issue. Plaintiff further respectfully requests that any
   subsequent filings and hearings relating to Plaintiff’s motion be under seal as well.



                                                                             Respectfully submitted,



                                                                             Roberta A. Kaplan

   cc:    Counsel of Record
